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IN THE UNITED STATES DlSTRlCT COURT
FOR THE DISTRICT OF ARIZONA

John J_. Hun'y and Justine I_{urry, as husband
and Wlfe, lnvestment Servlces Corporatlon,
an Arizona corporation,
Plaintiffs,
v.

Financial lndustry Regu}atory Authority,
Inc., a Delaware corporation,

Defendant.

 

 

 

Case NO. 14-cv-02490-PHX-ROS
JOINT STATUS REPORT

 

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Pursuant to the Court’s request on February 16, 2017, the parties jointly submit this
Status Report in advance of the Status Conference currently scheduled for February 17,
2017 at 10:30 a.m.

The parties have been working expeditiously to complete discovery pursuant to the
deadlines set forth in the Court’s Scheduling Order filed on November 8, 2016 [Doc.
140]. Plaintiffs disclosed their expert witnesses on December 29, 2016, and defendant’s
expert disclosures are due on February 17, 2017. All discovery is due to be completed by
March 1,2017.

The parties have cooperated in Scheduling depositions in the case for the next two
weeks. These include the major percipient witnesses, plus plaintiffs’ expert.

Scott Andersen has been subpoenaed to give a deposition of February 27 in New
York. Two depositions had previously been set in Phoenix for February 27, and the
parties are working together to find an alternate date for the deposition of Mr. Andersen.
FINRA was told on February 9 that plaintiffs do not represent J ay Noiman (SCA former
employee) and that he must be subpoenaed to give a deposition FINRA is attempting to
locate and subpoena Mr. Noirnan. FINRA has subpoenad Eric Miller (SCA former
employee) to give a deposition on February 28. FINRA’s counsel was informed on the
afternoon of February 16 that Mr. Miller recently has retained counsel, Leo Flanges. Mr.
Flanges says he is unavailable to defend Mr. Miller’s deposition on February 28 and has
asked for alternate deposition dates in March.

There is a current dispute as to whether certain matters redacted by FINRA from
documents produced on February 7, 2017, on grounds of relevance, lawyer~client
privilege, and investigatory privilege, were properly redacted. FINRA has served a
privilege log, which plaintiffs contend does not contain sufficient information to
determine the privilege claim. Plaintiffs contend that as a private entity, FINRA cannot
claim a privilege, and that even if a privilege exists, it is narrow and does not cover the
discovery sought by plaintiffs The redactions predominantly conceal the identity of an

SCA employee that was providing information to FINRA regarding SCA’s business

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practices. FINRA understands that plaintiffs now know the identity of the tipper, which in
FINRA’s opinion renders plaintiffs’ concerns moot. The parties are working in good faith
to resolve this dispute, and will promptly follow the Court’s procedure for discovery
disputes if they cannot resolve it.

In addition, plaintiffs have issued a subpoena to the reporter from the Deal, Bill
Meagher, who published the stories containing the statements alleged in the Complaint to
be defamatory Plaintiffs anticipate there may be a claim of ajournalist’s shield protection

by Mr. Meagher. If such an issue arises, the parties will contact the Court.

DATED this 16“‘ day OfFebruary, 2017.

SNELL & WILMER L.L.P`

s/ Joseph G. Adams

 

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CERTIFICATE OF SERVICE

I hereby certify that on February 16, 2017, l electronically transmitted the
foregoing document to the U.S. District Court Clerk’s Offlce using the CM/ECF System
for filing and transmittal of a Notice of Electronic Filing to the CM/ECF registrants on

record.

By: s/ Mandy Garsha

 

